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First Name              Last Name       Party Representing                               Firm Name
Cathy                   Hershcopf       Official Committee of Unsecured Creditors        Cooley LLP
David                   Ambrosia        Columbus Hill Capital Management, L.P.           Columbus Hill Capital Management, L.P.
Ian                     Silverbrand     N/A
Scott                   Greenberg       Ad Hoc First Lien Term Lender Group              Gibson, Dunn & Crutcher LLP
Christopher             Harris          Debtors                                          Latham & Watkins
Michele                 Meises          Deutsche Bank                                    White & Case
Judge                   Dorsey          U.S. Bankruptcy Judge
Bob                     Brady           Legal Representative for Future Claimants        Young Conaway Stargatt & Taylor, LLP
Elizabeth               Lombard         Deerfield Partners L. P.                         Sullivan & Cromwell LLP
Philip                  DiSanto         Humana                                           Willkie Farr & Gallagher LLP

Arik                    Preis           Official Committee of Opioid Related Claimants   Akin Gump Strauss Hauer & Feld
                                        Unsecured (Guaranteed by MNK Plc) Note
Vasu                    Kalpat          Holder

Justin                  Alberto         Official Committee of Opioid Related Claimants   Cole Schotz P.C.

Zhao                    Liu             Beren Therapeutics, P.B.C. and MANDOS LLC        The Rosner Law Group LLC
Jason                   Moehlmann       Debtors                                          Latham & Watkins LLP
Maria                   Chutchian       Reuters                                          Reuters
Spencer                 Payne           Aurelius Capital Management, LP
Rick                    Wyron           Legal Representative for Future Claimants        Frankel Wyron LLP
George                  O'Connor        Multi State Governmental Entities                Caplin & Drysdale, Chartered
Michael                 Klein           Official Committee of Unsecured Creditors        Cooley LLP
Sergei                  Startsev        Shareholder
                                                                                         PAUL, WEISS, RIFKIND, WHARTON & GARRISON
Andrew                  Rosenberg       Unsecured Notes Ad Hoc Group                     LLP
Ted                     Nguyen          '‐                                               Mariner Investment Group
Heather                 Barlow          UCC                                              Dundon Advisers LLC
Richard                 Cobb            Unsecured Notes Ad Hoc Group                     Landis Rath & Cobb
Mark                    Duedall         Debtors' OCP                                     Bryan Cave Leighton Paisner LLP
'Константин Беспяткин                   Investor
Brian                   Kessler         Creditor
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                                                                               Robbins, Russell, Englert, Orseck & Untereiner
Donald        Burke           Ad Hoc First Lien Notes Group                    LLP
George        Schultze        Pro Se                                           Schultze Asset Mgmt.
                                                                               PAUL, WEISS, RIFKIND, WHARTON & GARRISON
Claudia       Tobler          Unsecured Notes Ad Hoc Group                     LLP

Mitch         Hurley          Official Committee of Opioid Related Claimants   Akin Gump Strauss Hauer & Feld
Jason         DiBattista      LevFin Insights                                  LevFin Insights
Scott         Cousins         OCM Luxembourg                                   Cousins Law LLC
Roger         Frankel         Legal Representative for Future Claimants        Frankel Wyron LLP
David         Skatoff         Legal Representative for Future Claimants        Ducera Partners LLC
Emily         Holt            Liberty Mutual

Anthony       De Leo          Official Committee of Opioid Related Claimants   Cole Schotz P.C.
Andrew        Scurria         Wall Street Journal
Sonia         Pfaffenroth     Special Counsel to the Debtors                   Arnold & Porter Kaye Scholer LLP
Matthew       Russell         Hudson Bay
Agnes         Tang            Legal Representative for Future Claimants        Ducera Partners LLC
Jeremy        Evans           Ad Hoc First Lien Term Lender Group              Gibson, Dunn & Crutcher LLP
Michael       Cohen           Ad Hoc First Lien Term Lender Group              Gibson, Dunn & Crutcher LLP
Travis        Buchanan        Legal Representative for Future Claimants        Young Conaway Stargatt & Taylor, LLP
Daniel        Gill            Bloomberg Law
Colleen       Maker           City of Marietta                                 Lowenstein Sandler LLP
Matthew       Wasserman       Express Scripts                                  Quinn Emanuel Urquhart & Sullivan, LLP
Jeffrey       Kaplan          BCAS                                             BCAS
Jennifer      Conn            Ad Hoc First Lien Term Lender Group              Gibson, Dunn & Crutcher LLP
Megan         Wasson          Governmental Plaintiff Ad Hoc Committee
Michael       Etkin           City of Marietta                                 Lowenstein Sandler LLP
David         Fournier        Ad Hoc First Lien Term Lender Group              Troutman Pepper Hamilton Sanders LLP
Aaron         Stulman         Deerfield Partners L. P.                         Potter Anderson & Corroon LLP
Jennifer      Christian       Ad Hoc Group of Personal Injury Victims          ASK LLP
Melissa       Van Eck         Commonwealth of Pennsylvania                     Pennsylvania Office of Attorney General
Laruel        Lalone          McKesson
Christopher   Simon           City of Marietta                                 Cross & Simon, LLC
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Sara          Brauner       Official Committee of Opioid Related Claimants   Akin Gump Strauss Hauer & Feld
James         Lathrop       Official Committee of Unsecured Creditors        Robinson & Cole LLP
Vasilii       Dunin         Shareholder                                      Vasilii
Taylor        Harrison      Debtwire
Christopher   Guth          Humana                                           Attestor Capital
Donna         Culver        Attestor Limited and Humana Inc.                 Morris Nichols Arsht & Tunnell LLP
Kaitlyn       Sundt         Debtors                                          AlixPartners, LLP
Jason         Greenwood     United States                                    U.S. Dept. of Justice

Dianne        Coffino       Beren Therapeutics, P.B.C. and MANDOS LLC        Covington & Burling LLP
Scott         Jones         OCM Luxembourg                                   Cousins Law LLC
Stephen       Welch         Mallinckrodt                                     Mallinckrodt
Teddy         Kindelan      Legal Representative for Future Claimants        Ducera Partners LLC
Yan‐Chow      Ma            Self
Christopher   Graver        King County                                      Keller Rohrback
Matthew       Harvey        Attestor Limited and Humana Inc.                 Morris Nichols Arsht & Tunnell LLP
Jeremiah      Ledwidge      UCC                                              Cooley LLP
Olivia        Parsons       Legal Representative for Future Claimants        Ducera Partners LLC
Austin        Viny          VonWin Capital
Jane          Leamy         U.S. Trustee                                     Office of U.S. Trustee
                            Ad Hoc Committee of Government Entities
Michael       Pantzer       Holding Medicaid Rebate Claims                   Otterbourg P.C.
Jamie         Edmonson      Official Committee of Unsecured Creditors        Robinson+Cole LLP
Erin          Fay           Deutsche Bank                                    Bayard, P.A.
Paul          Shalhoub      Humana                                           Willkie Farr & Gallagher LLP
John          Ferretti      Humana
Adam          Swingle       N/A
lowell        finson        unsecured creditors                              Finson Law Firm
Brya          Keilson       Governmental Plaintiff Ad Hoc Committee          Morris James LLP
Matthew       Feldman       Humana                                           Willkie Farr & Gallagher LLP
James         Johnston      Ad Hoc Revolving Loan Participants Group         Jones Day
Torben        Geisler       Humana                                           Attestor Capital
Jaime         Chapman       Legal Representative for Future Claimants        Young Conaway Stargatt & Taylor, LLP
Evan          Schladow      Debtors                                          Latham & Watkins
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Benjamin    Beller         Deerfield Partners L. P.                      Sullivan & Cromwell LLP
Negisa      Balluku        N/A                                           Bloomberg LP
Nikan       Ansari         Legal Representative for Future Claimants     Ducera Partners LLC
Daniel      Astin          Ad Hoc Acthar Group
Robert      Dehney         Attestor Limited and Humana Inc.              Morris Nichols Arsht & Tunnell LLP
Jim         Patton         Legal Representative for Future Claimants     Young Conaway Stargatt & Taylor, LLP
Ed          Harron         Legal Representative for Future Claimants     Young Conaway Stargatt & Taylor, LLP
Brian       Guiney         Interested party                              Patterson Belknap Webb & Tyler LLP
Matthew     Dundon         UCC                                           Dundon Advisers LLC
Matthew     Freimuth       Humana                                        Willkie Farr & Gallagher LLP
Jordan      Wolfe          various                                       cerberus
Benjamin    Waldin         Attestor, Humana                              Eimer Stahl LLP
Melanie     Sharp          Legal Representative for Future Claimants     Young Conaway Stargatt & Taylor, LLP

Alexander   Clark          Beren Therapeutics, P.B.C. and MANDOS LLC     Covington & Burling LLP
Julia       Klein          Alexander Parker                              Klein LLC
James       Bromley        Deerfield Partners L. P.                      Sullivan & Cromwell LLP
Amanda      Steele         Debtors                                       Richards, Layton & Finger
Ann         Langley        Multi State Governmental Entities Group       Caplin & Drysdale, Chartered
Karen       Bray           Legal Representative for Future Claimants     Greenberg Traurig, LLP
Nathaniel   Miller         Multi State Governmental Entities Group       Caplin & Drysdale, Chartered
Justin      Kirschner      Mallinckrodt plc                              Latham & Watkins LLP
Wesley      Powell         Humana                                        Willkie Farr & Gallagher LLP
Daniel      Eggermann      Governmental Plaintiff Ad Hoc Committee
Heather     Smillie        Legal Representative for Future Claimants     Young Conaway Stargatt & Taylor, LLP
Chaim       Fortgang       N/A
Michelle    Choi           Ad Hoc First Lien Term Lender Group           Gibson, Dunn & Crutcher LLP
Richard     Choi           Humana                                        Willkie Farr & Gallagher LLP
Dana        Kane           Cedar Glade Capital                           Kelley Drye & Warren LLP
Kent        Kolbig         Deutsche Bank Trust Company Americas          Moses & Singer LLP
Cullen      Speckhart      Official Committee of Unsecured Creditors     Cooley LLP
Jeffrey     Schlerf        Deutsche Bank AG New York Branch              GrayRobinson PA
Jeffrey     Waxman         Governmental Plaintiff Ad Hoc Committee       Morris James LLP
Kevin       Boland         Deutsche Bank, as agent                       RPA Advisors LLC
James       Williamson     N/A
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Judah         Hertzberg      Self (interested investor‐listen only)
Michael       DeBaecke       WSFS                                             Ashby & Geddes, P.A.
Huahai        Ma             Self
Taylor        Haga           Attestor Limited and Humana Inc.                 Morris Nichols Arsht & Tunnell LLP
Joshua        Brody          Ad Hoc First Lien Term Lender Group              Gibson, Dunn & Crutcher LLP
Ken           Listwak        Ad Hoc First Lien Term Lender Group              Troutman Pepper Hamilton Sanders LLP
Andrew        Behlmann       City of Marietta                                 Lowenstein Sandler LLP
Jonathan      Kim            Official Committee of Unsecured Creditors        Cooley LLP
Julia         Winters        Specialty Generics Debtors                       Katten Muchin Rosenman LLP
Sameer        Alifarag       Wilmington Savings Fund Society, FSB             Pryor Cashman LLP
Christopher   Samis          Deerfield Partners L. P.                         Potter Anderson & Corroon LLP
Leesa         Haspel         Ad Hoc First Lien Term Lender Group              Gibson, Dunn & Crutcher LLP
James         Green          MSGE Group                                       Seitz, Van Ogtrop & Green, P.A.
Benjamin      McCallen       Humana                                           Willkie Farr & Gallagher LLP
Bernice       Lee            MSP Entities                                     Kozyak Tropin & Throckmorton
Andrew        Papa           Legal Representative for Future Claimants        Young Conaway Stargatt & Taylor, LLP

Peter         Cicala         Beren Therapeutics, P.B.C. and MANDOS LLC
Matthew       Pierce         Unsecured Notes Ad Hoc Group                     Landis Rath & Cobb

Sophie        Macon          Official Committee of Opioid Related Claimants   Cole Schotz P.C.
Serena        Lightstone     MSGE                                             FTI Consulting
Robert        Stearn         Mallinckrodt (Debtors)                           Richards, Layton & Finger, P.A.
Michael       Merchant       Debtors                                          Richards, Layton & Finger, P.A.
                                                                              PAUL, WEISS, RIFKIND, WHARTON & GARRISON
Alice         Eaton          Unsecured Notes Ad Hoc Group                     LLP
Ethan         Trotz          Specialty Generics Debtors                       Katten Muchin Rosenman LLP
Babak         Torgoley       Mnk
Matthew       Manning        Attestor                                         M3
                                                                              PAUL, WEISS, RIFKIND, WHARTON & GARRISON
Neal          Donnelly       Unsecured Notes Ad Hoc Group                     LLP
Alan          Gamza          Deutsche Bank Trust Company Americas             Moses & Singer LLP

Jason         Camm           Beren Therapeutics, P.B.C. and MANDOS LLC
Megan         Harper         City of Philadelphia
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Julia     Heasley        Unsecured Noteholders Ad Hoc Group               Paul, Weiss
Bill      Hazeltine      Ad Hoc First Lien Notes Group                    Sullivan Hazeltine Allinson LLC
Matthew   Biben          Ad Hoc First Lien Term Lender Group              Gibson, Dunn & Crutcher LLP
Uday      Gorrepati      N/A (ABI Project)
Nader     Amer           Attestor Limited and Humana Inc.                 Morris Nichols Arsht & Tunnell LLP

Brooks    Barker         Official Committee of Opioid Related Claimants   Akin Gump Strauss Hauer & Feld
Evan      Lazerowitz     Official Committee of Unsecured Creditors        Cooley LLP
gautam    dhingra        jpmorgan                                         jpmorgan
Beth      Brownstein     BOKF, N.A.                                       Arent Fox LLP
Kevin     Eckhardt       Reorg Research                                   Reorg Research
Clay      Roberts        Deutsche Bank AG New York Branch                 White & Case LLP
Meghan    McCaffrey      Express Scripts                                  Quinn Emanuel
Bart      Hoyng          Humana                                           Attestor Capital
